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                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

  State of Texas,
  State of Montana,
       Plaintiffs,

  v.

  Xavier Becerra, in his official capacity
  as Secretary of Health and Human Services;
                                                    Case No. 6:24-cv-00211
  Melanie Fontes Rainer, in her
  official capacity as Director of the Office for
  Civil Rights; Centers for Medicare
  & Medicaid Services; United
  States Department of Health
  and Human Services,

         Defendants.


 REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER,
             PRELIMINARY INJUNCTION, AND STAY OF AGENCY ACTION
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       Defendants’ defense hinges entirely on their flawed theory that the Supreme Court’s

holding in Bostock applies to Title IX, and thus to Section 1557. See 42 U.S.C. § 18116(a).

Defendants argue that the Final Rule’s re-writing of statutory terms “flow[s] ineluctably from

Bostock.” Dkt. 15 at 3. But “Bostock does not apply to . . . Title IX.” Neese v. Becerra, 640 F. Supp.

3d 668, 676 (N.D. Tex. 2022) (Kacsmaryk, J.); see also Texas v. Cardona, --- F. Supp. 3d.---, No.

4:23-cv-00604, 2024 WL 2947022, at *37 (N.D. Tex. June 11, 2024) (O’Connor, J.). And

Defendants concede that, absent the Final Rule’s importation of Bostock to Title IX, the statute’s

prohibition on discrimination on the basis of sex extends only to biological sex.

       Yet, even with that understanding, Defendants seem more concerned with ear infections,

see Dkt. 15 at 9 n.9, and the micromanaging of state laws that don’t fit the Biden Administration’s

agenda than with protecting America’s children from mutilating procedures that will permanently

harm them. Indeed, in four days, the Final Rule will require all States and healthcare providers to

perform gender-transition procedures on pain of losing all federal funding. There is no dispute that

Texas’s and Montana’s laws and policies violate the Final Rule, see id. at 19, or that the result of

such a violation is withdrawal of federal funding, see id. at 5. But while Defendants coerce

compliance, they ask this Court to delay judicial relief so that they may gather evidence to

determine whether Texas and Montana have “legitimate, nondiscriminatory bases for their

policies.” See id. at 20. That Defendants have already rendered a guilty verdict only makes

preliminary injunctive relief all the more necessary, and a stay all the more warranted.
                                           Argument
I.     The Final Rule mandates gender-transition procedures and forbids sex-separated
       living facilities.
       In their Response, Defendants obfuscate the terms of the Final Rule, describing it as a

backstop to ensure everyone has access to “treatment for an ear infection, broken bone, or cancer.”

Dkt. 15 at 9 n.9. This is an egregious mischaracterization of the Final Rule’s mandates, which never

mention “ear infections” and “broken bones.” Instead, it refers to “gender-affirming” and

“gender transition” services over 100 times, and it codifies a right to them: No health programs,
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“any part of which is receiving Federal financial assistance,” 89 Fed. Reg. 37,693 (to be codified at 42

C.F.R. § 92.2(c) (emphasis added), may “[h]ave or implement a categorical coverage exclusion or

limitation for all health services related to gender transition or other gender-affirming care.” 89 Fed.

Reg. 37,701 (to be codified at 42 C.F.R. § 92.206(b)(4)) (emphasis added). 1 In other words, no

state or healthcare provider may refuse to pay for or perform “gender transition or other gender-

affirming care,” and any state law that does is preempted. 89 Fed. Reg. 37,535.

        Defendants insist that the Final Rule does not “require specific entities to provide specific

types of care,” Dkt. 15 at 19, and they point to 89 Fed. Reg. 37,701 (to be codified at 42 C.F.R.

§ 92.206(c)) to support the proposition that the Final Rule does not dictate a standard of care. See

Dkt. 15 at 7. But that section only emphasizes Defendants’ position that gender-transition

procedures are the standard, and deviations are the exception. That section stipulates:
      Nothing in [§ 92.206] requires the provision of any health service where the
      covered entity has a legitimate, nondiscriminatory reason for denying or limiting
      that service, including where the covered entity typically declines to provide the
      health service to any individual or where the covered entity reasonably determines
      that such health service is not clinically appropriate for a particular individual.
89 Fed. Reg. 37,701 (to be codified at 42 C.F.R. § 92.206(c)) (emphasis added). To fall within this

safe harbor, States and healthcare providers must refuse to provide, for example, a hysterectomy

to treat endometrial cancer if they would deny a hysterectomy “sought for purpose of gender-

transition” in order to comply with state law. 89 Fed. Reg. at 37,701 (to be codified at 42 C.F.R.

§ 92.206(b)(4)). Otherwise, the Final Rule would consider the refusal to pay for or perform a

hysterectomy “sought for purpose of gender-transition” an act of “unlawful animus or bias,” and

construe compliance with state law as “a pretext for discrimination.” See Dkt. 15 at 7 (quoting 45

C.F.R. § 92.206(c)). If a covered entity denies coverage, OCR requires “the clinical, evidence-

based criteria or guidelines relied upon” to support the denial. See 89 Fed. Reg. 37,613. The Final



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          Defendants highlight the sweeping application of the Final Rule in their Response. See Dkt. 15 at
5 n.6 (recognizing that the Final Rule applies to any “[h]ealth program or activity,” including any “venture,
or undertaking” that provides “clinical, pharmaceutical, or medical care” or “administer[s] health-related
services . . . or other health-related coverage.”).


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Rule thus makes so-called gender-affirming procedures the standard; deviations require OCR’s

approval.

       The Final Rule further imposes Defendants’ gender ideology by interpreting “on the basis

of sex” to forbid “any policy or practice” that prevents an individual from being treated

“consistent with the individual’s gender identity” if it causes the individual more than de minimis

harm. 89 Fed. Reg. 37,701 (to be codified at 45 C.F.R. § 92.206(b)(3)). This provision requires

hospitals to allow a man who identifies as a woman to share a room with a woman, see id. at 37,593

(stipulating that “[a] covered entity will be in violation of this rule if they refuse to . . . place [a

transgender person] in facilities consistent with their gender identity, because doing so would

result in more than de minimis harm”)—contrary to Title IX, which explicitly allows “separate

living facilities for the different sexes.” 20 U.S.C. § 1686; see Adams v. Sch. Bd. of St. Johns Cnty.,

57 F.4th 791, 811–14 (11th Cir. 2022) (en banc). Defendants do not even acknowledge this radical

requirement in their Response, choosing instead to hide the ball by downplaying the Final Rule as

a simple guarantee that everyone can get treatment for ear infections. See Dkt. 15 at 9 n.9.

II.    The Final Rule is unlawful.
       The Final Rule compels States and healthcare providers to pay for and preform gender-

transition procedures by redefining discrimination on the basis of sex in Title IX and the

Rehabilitation Act to include “gender identity” and “sexual orientation.” 89 Fed. Reg. 37,699 (to

be codified at 42 C.F.R. § 92.101(a)(2)).

       Defendants never meaningfully engage with the text of either statute and instead hinge

their entire response on importing Bostock’s holding into different statutory schemes. Defendants

rely exclusively on Bostock to support the gender-transition aspects of the Final Rule. Dkt. 15 at 11.

For example, Defendants cite Bostock for the proposition that “a surgeon who refuses to

perform . . . a procedure on a transgender man . . . unmistakably and impermissibly denies an

essential medical service based in part on a patient’s sex.” Dkt. 15 at 12. But Bostock does not apply

to Title IX. See Texas v. Cardona, 2024 WL 2947022, at *35–36. Defendants support their position

by equating “on the basis of sex” (the language used in Title IX) with the “because of . . . sex”

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language in Bostock’s Title VII, and cite how courts have used the terms interchangeably. Dkt. 15

at 12. But when examining guidance documents issued by the Department of Education that also

tried to import Bostock to Title IX, Judge O’Connor explained at length why the “language of an

opinion is not always to be parsed as though we were dealing with the language of a statute.” Texas

v. Cardona, 2024 WL 2947022, at *38. “[J]ust because a judicial opinion employs two phrases

interchangeably in one context does not mean Congress employed those same terms

interchangeably in a different context.” Neese, 640 F. Supp. 3d at 678 (emphasis in original).

       Defendants reject the differences between Title VII and Title IX, arguing that Title VII’s

application to employment and Title IX’s application to education programs “says nothing about

whether . . . discrimination ‘because of’ or ‘on the basis of’ sex necessarily encompasses

discrimination based on gender identity.” Dkt. 15 at 12. That Congress enacted different statutes

for different contexts matters. “[W]hat counts as discrimination under one statute is not

necessarily discrimination under the other.” Texas v. Cardona, 2024 WL 2947022, at *37. While

Bostock does not allow employers to consider an employee’s sex in hiring or firing decisions, “the

comparable logic in the Title IX context would mean that schools could not consider sex to create

sports teams,” id., and that hospitals or healthcare providers could not consider the biological sex

of an individual in making treatment decisions. But this conflicts with Title IX’s instructions that

it shall not “be construed” as prohibiting receipients “from maintaining separate living facilities

for the different sexes,” id. § 1686. Section 1686 thus highlights that sex separation in contexts

where biological differences matter—e.g., dorms, bathrooms, locker rooms, athletics, healthcare—

is not discrimination under Title IX.

       Further, if Congress meant to impose the conditions of the Final Rule through Title IX or

Section 504, it would violate the Major Questions Doctrine’s and the Spending Clause’s

requirement of a clear statement. “Agencies only have those powers given to them by Congress,

and enabling legislation is generally not an open book to which an agency may add pages and change

the plot line.” West Virginia v. EPA, 597 U.S. 697, 722–23 (2022); see also Louisiana v. U.S. Dep’t

of Educ., Civ. A. No. 3:24-cv-563, 2024 WL 2978786, at *13–15 (W.D. La. June 13, 2024) (finding

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that the Department of Education’s interpretation of “sexual discrimination in Title IX” to

include “gender identity, sexual orientation, sex stereotypes, and sex characteristics” involves a

matter of vast economic and political significance, requiring the agency demonstrate “clear

statutory authorization”). And the “spending power . . . does not include surprising States with

post-acceptance . . . conditions.” Nat’l Federation of Indep. Bus. v. Sebeilius, 567 U.S. 519, 584

(2012). Bostock did not involve an agency interpreting its delegated authority, so this question did

not need to be answered there—and Bostock expressly held that its interpretation was unexpected.
590 U.S. at 649, 653, 674–81. That holding cannot be reconciled with an argument that Congress spoke

clearly on this “unexpected” condition Defendants ask this Court to read into Title IX.

       Title IX being a statute enacted pursuant to the Spending Clause makes all the difference

because it requires that any ambiguities be interpreted in favor of the States. See Texas v. Cardona,

2024 WL 2947022, at *40–42 & n. 135; Adams, 57 F.4th at 814–17 (no requisite clear statement in

Title IX that States would have to accommodate living facilities based on gender identity). The

same is true for Section 1557—Plaintiffs could not have known that Defendants would claim the

power to require them to abandon state laws and pay for gender-transition procedures as a

condition of funding. As a last refuge, Defendants also rely as authority to enact the Final Rule the

general organizing statutes for the agency, Dkt. 15 at 15, but such “broad grants of authority . . .

cannot reasonably be construed as assigning decisions of vast economic and political significance,”

such as the gender-identity mandates of the Final Rule, “to an agency.” Texas v. United States

(DAPA), 809 F.3d 134, 183 (5th Cir. 2015). Defendants’ attempt to import new conditions by

redefining what constitutes discrimination on the basis of sex is unlawful.

III.   The Final Rule will cause irreparable injury.
       Defendants’ attempt to impose new conditions on Plaintiff States also causes irreparable

injury. “To show irreparable injury if threatened action is not enjoined, it is not necessary to

demonstrate that harm is inevitable and irreparable,” Humana, Inc. v. Jacobson, 804 F.2d 1390,

1394 (5th Cir. 1986). Rather, Plaintiffs need only demonstrate that they are “likely to suffer



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irreparable harm in the absence of preliminary relief.” Benisek v. Lamone, 585 U.S. 155, 158 (2018).

The Supreme Court has “long held, parties need not await enforcement proceedings before

challenging final agency action where such proceedings carry the risk of ‘serious criminal and civil

penalties.’” U.S. Army Corps of Engineers v. Hawkes Co., 578 U.S. 590, 600 (2016) (cleaned up).

       That Plaintiffs have billions of dollars in federal funds at risk supports the issuance of a

preliminary injunction. See Dkt. 2-1 at ¶¶ 7–8 (explaining the billions of dollars Texas will lose);

see also Dkt. 1 at ¶¶ 136–38 (explaining the billions of dollars Montana will lose). Defendants affirm

that they may investigate Plaintiffs “[u]pon receiving a complaint or any other information

indicating . . . noncompliance”—like the declarations and representations Plaintiffs have made

here. Dkt. 15 at 4 (citing 45 C.F.R. § 80.7(c) (cleaned up) (emphasis added)). Putting the States

“at risk of an often lengthy and arduous investigation” while “at risk of losing their federal funding

through an enforcement proceeding” justifies preliminary relief. State of Tennessee v. Dep’t of

Educ., --- F.4th ---, 2024 WL 2984295, at *17 (6th Cir. June 14, 2024) (Title IX gender-identity

mandate).

       By “stand[ing] firmly by [their] laws,” Plaintiff States will face “administrative and judicial

proceedings that could result in the collective loss of billions of dollars in federal funding for

noncompliance.” Texas v. Cardona, 2024 WL 2947022, at *49. And because sovereign immunity

prevents Plaintiff States from recovering any loss of money, Wages & White Lion Invs., LLC v. U.S.

Food & Drug Admin., 16 F.4th 1130, 1142 (5th Cir. 2021); Texas v. EPA, 829 F.3d at 434, that injury

“cannot be undone through monetary remedies.” Dennis Melancon, Inc. v. City of New Orleans, 703

F.3d 262, 279 (5th Cir. 2012); Interox Am. v. PPG Indus., Inc., 736 F.2d 194, 202 (5th Cir. 1984).

       Setting aside the threat of massive financial penalties, Defendants’ misinterpretation of

Bostock—and insistence on the Final Rule’s preemptive effect through the Spending Clause (Dkt.

15 at 17)—requires Plaintiff States to disregard their own laws that ban so-called gender-transition

procedures. This harm to the Plaintiff States’ sovereign interests likewise supports a preliminary

injunction. See Texas v. Becerra, 623 F. Supp. 3d 696, 714–19 (N.D. Tex. 2022) (Hendrix, J.). Texas

prohibits a physician or healthcare provider from knowingly performing a sterilizing surgery or

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mastectomy, or providing puberty blockers or cross-sex hormones, to minors “[f]or the purpose

of . . . affirming the child’s perception of the child’s sex if that perception is inconsistent with the

child’s biological sex.” Tex. Health & Safety Code § 161.702. Similarly, Montana prohibits gender

transition procedures for minors, such as chest mastectomies, and it does not pay for such

procedures (even prior to SB 99). Dkt. 1 at ¶ 136. And as of today, it still does not pay for those

procedures, so the Final Rule would force the state to pay for those procedures. Dkt. 1 at ¶ 136.

The Final Rule purports to prohibit Plaintiff States from enforcing these laws even though the

regulation of medicine is “a field which the States have traditionally occupied,” Medtronic, Inc. v.

Lohr, 518 U.S. 470,485 (1996), and States have a strong interest “in protecting the integrity and

ethics of the medical profession.” Washington v. Glucksberg, 521 U.S. 702, 731 (1997). Plaintiff

States suffers irreparable sovereign injuries when the Final Rule prevents them from enforcing

their own duly enacted laws. See, e.g., Abbott v. Perez, 585 U.S. 579, 602 n.17 (2018) (“[T]he

inability to enforce its duly enacted plan clearly inflicts irreparable harms on the State.”); Maryland

v. King, 567 U.S. 1301, 1303 (2012) (“Any time [a State is blocked] from effectuating statutes

enacted by reprsentatives of its people, it suffers a form of irreparable injury.”); Planned Parenthood

of Greater Tex. Surgical Health Servs. v. Abbott, 734 F.3d 406, 419 (5th Cir. 2013) (“[T]he State

necessarily suffers the irreparable harm of denying the public interest in the enforcement of its

law.”). 2

        In their Response, Defendants contend that Plaintiffs’ injuries are “wholly conjectural”

because “Plaintiffs simply assume that their policies are noncompliant” with the Final Rule. Dkt.

15 at 21. Defendants rely on Google, Inc. v. Hood, 822 F.3d 212 (5th Cir. 2016) to argue that

Plaintiffs’ injuries are not sufficiently imminent to justify an injunction because OCR would have

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            And when States “assert [their] rights under federal law” to protect their quasi-sovereign interests
“in the health and well-being—both physical and economic—of [their] residents in general,” they have
parens patriae standing. See Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 607 (1982);
see also Texas v. Becerra, 577 F. Supp. 3d 527, 559 (N.D. Tex. 2021) (granting a preliminary injunction and
finding that Texas had parens patriae standing to assert the State’s interests “in the health and well-
being . . . of its residents in general” to prevent the adverse impact of federal COVID-19 vaccine mandates
on Head Start offerings).


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to gather information about Plaintiffs’ bases for their policies before determining whether an

enforcement action is warranted. Dkt. 15 at 22.

        But there is nothing left to discover. Plaintiffs refuse to comply with the Final Rule. In

addition to the Final Rule’s conflicts with state law, the Texas Department of Health & Human

Services acknowledged that its policies violate the terms of the Final Rule. See Dkt. 2-1 at ¶¶ 5–6.

Even so, Plaintiffs need only demonstrate that their polices are “arguably affected with a

constitutional interest, but proscribed by [the Final Rule.]” Susan B. Anthony List v. Driehaus, 573

U.S. 149, 159 (2014) (emphasis added). Plaintiffs have done that.

        And Defendants cannot coerce to Plaintiffs to “resolve” their dispute “by informal

means.” Dkt. 15 at 4 (quoting 45 C.F.R. § 80.7(c)). Defendants’ reliance on Hood, see Dkt. 15 at

22, is misplaced. As the Fifth Circuit recently held, when “the agency refuses to provide a single

additional fact that would be required to adjudicate the present action,” Hood does not apply.

Braidwood Management, Inc. v. Equal Employment Opportunity Comm’n, 70 F.4th 914, 929 (5th Cir.

2023). Defendants do not seriously contest that the Plaintiff States’ laws violate the Final Rule, see

Dkt. 15 at 19–20, and the only reason Defendants have yet to bring an enforcement action against

the Plaintiff States is that the Final Rule doesn’t go into effect until July 5, 2024. This case,

therefore, more closely resembles Braidwood Management, Inc. because (1) this Court knows what

violates the Final Rule, (2) it knows what Plaintiffs’ exact policies are, and (3) it has admissions

from Plaintiffs that their current practices violate the Final Rule. Cf. Braidwood Management, Inc.,

70 F.4th at 929. Such injuries are accordingly far from speculative, especially when Defendants

“ha[ve] not forsworn or disclaimed [their] willingness to bring an enforcement action against

plaintiffs” and have failed to “declare affirmatively that [they] will not enforce [the Final Rule]

against” Plaintiffs’ state laws and policies. Id. at 920.

        Finally, Defendants’ insistence on a lack of imminence fares no better. The Final Rule is

going into effect four days from now. 89 Fed. Reg. at 37, 522. And while Defendants point to the

delayed effective date for written policies and procedures requirement being within one year of

that effective date, there are other requirements that become effective July 5, 2024 that pose more

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imminent harms on Plaintiff States. 3 Plaintiffs “need not assume such risks while waiting for

[HHS] to drop the hammer in order to have their day in court.” Hawkes Co., 578 U.S. at 600.

IV.     The scope of requested relief is proper.

        This Court should stay the Final Rule pending a decision on the merits. Plaintiff States seek

a stay of the Final Rule under § 705, which provides that a “reviewing court” may “issue all

necessary and appropriate process to postpone the effective date of an agency action or to prserve

status or rights pending conclusion of the review proceedings.” 4 “[T]he scope of preliminary relief

under Section 705 aligns with the scope of ultimate relief under Section 706, which is not party-

restricted and allows a court to ‘set aside’ an unlawful agency action.” Career Colleges & School of

Texas v. United States Dep’t of Education, 98 F.4th 220, 255 (5th Cir. 2024). Indeed, “[t]he default

rule is that vacatur is the appropriate remedy.” Data Mktg. Partn., LP v. U.S. Dep’t of Lab., 45

F.4th 846, 859 (5th Cir. 2022). Thus, “[w]hen a reviewing court determines that agency

regulations are unlawful, the ordinary result is that the rules are vacated—not that their application

to the individual petitioners is proscribed.” Career Colleges, 98 F.4th at 255.

         Defendants urge this Court to salvage some of the Final Rule with severability. Dkt. 15 at

25. In support, Defendants make passing reference to a severability clause. Id. (citing 45 C.F.R.

§ 92.2(c)). “But ‘the ultimate determination of severability will rarely turn on the presence or

absence’ of a severability clause.” Nasdaq Stock Mkt. LLC v. SEC, 38 F.4th 1126, 1145 (D.C. Cir.

2022). At this preliminary stage, the Court is not obligated to examine hundreds of pages to

winnow the field, all before July 5. “Judge are not like pigs, hunting for truffles buried [in the

record].” Murthy v. Missouri, No. 23-411, 2024 WL 3165801, at *12 n.7 (U.S. June 26, 2024)

(citation omitted, alterations in original). The Court should instead stay the rule “in its entirety”

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           See, e.g., 89 Fed. Reg. 37, 696 (codified at 45 C.F.R. § 92.5) (requiring entities like Plaintiff States
to submit certificates of assurance that their health programs or activites are in compliance with Section
1557); see also Grove City Coll. v. Bell, 465 U.S. 555, 574–75 (1984) (upholding defunding for failure to file
assurance as the “Department may properly condition federal financial assistance on the recipient’s
assurance that it will conduct the aided program or activity in accordance with Title IX and the applicable
regulations”).
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           “Agency action” is defined to include “the whole . . . of an agency rule.” 5 U.S.C. § 551(13)
(emphasis added).

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because Defendants didn’t “brie[f] how [the court] might craft a limited stay,” even though that

was their burden. Texas v. EPA, 829 F.3d 405, 435 (5th Cir. 2016). This Court need not tailor the

Final Rule when Defendants made no attempt to do so. See Texas v. United States (DACA), 691 F.

Supp. 3d 763, 789 (S.D. Tex. 2023) (Hanen, J.).

       Regardless, the Final Rule fails the test for severability, which turns on whether the agency

would have adopted the rule without the vacated provisions, and whether it would “function

sensibly.” DACA, 691 F. Supp. 3d at 792–93 (S.D. Tex. 2023). Defendants lose on both because

they “ma[de] no developed argument.” Data Mktg. P’ship, 45 F.4th at 859–60. There is

“substantial doubt” that the agency would have adopted an emasculated form of the Final Rule.

Baltimore v. Azar, 439 F. Supp. 3d 591, 615 (D. Md.), aff’d, 973 F.3d 258 (4th Cir. 2020). The chief

purpose of the Final Rule is to “implement § 1557’s nondiscrimination protections” “consistent

with the Supreme Court’s decision in Bostock v. Clayton County, 590 U.S. 644 (2020).” Dkt. 15 at

3. Erasing major provisions fatally undermines the rationale for the rule. See Baltimore, 439 F. Supp.

3d at 615.

       Defendants “have not explained how the provisions should be severed” or how the Final

Rule would sensibly function. Id. “[I]t is not the judiciary’s duty or role to write or rewrite

regulations or rules.” DACA, 691 F. Supp. 3d at 793; see also Tennessee v. Cardona, 2024 WL

3019146, at *42–43. If Defendants’ redefinition of discrimination on the basis of sex falls, then the

Final Rule won’t “survive . . . in anything approaching recognizable form.” North Carolina v. EPA,

531 F.3d 896, 929 (D.C. Cir. 2008) (cleaned up); see Tennessee, 2024 WL 3019146, at *43 (holding

that the “severability clause had little impact . . . because the impermissible definition of

‘discrimination on the basis of sex’ . . . permeates the remaining regulations”). Preliminary relief

against the entire rule gives the Court time to consider issues like severability when the

administrative record is available. See id.; Louisiana, 2024 WL 2978786, at *21.

                                          Conclusion
       Before July 5, 2024, the Court should grant Plaintiffs’ Motion.



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 Dated: July 1, 2024.                         Respectfully Submitted.

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                                  CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on July 1, 2024 and that all counsel of record were served by CM/ECF.

                                                    /s/ Amy S. Hilton
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